Case 2:19-cr-00120-MEF Document 500-24 Filed 08/03/23 Page 1 of 6 PageID: 25370




                  EXHIBIT 22
Case 2:19-cr-00120-MEF Document 500-24 Filed 08/03/23 Page 2 of 6 PageID: 25371
                                                                              267

  1                     UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
  2   _______________________________

  3   UNITED STATES OF AMERICA,                 CRIMINAL ACTION NUMBER:

  4                                             2:19-cr-00120-KM
      vs.
  5                                             Garrity Motion
      GORDON J. COBURN and                      Volume 2 Pages 267-421
  6   STEVEN SCHWARTZ,

  7             Defendants.
      ________________________________
  8   MARTIN LUTHER KING BUILDING & U.S. COURTHOUSE
      50 Walnut Street, Newark, New Jersey 07101
  9   April 19, 2023
      Commencing at 9:00 a.m.
 10
      B E F O R E:         THE HONORABLE KEVIN MCNULTY
 11                        UNITED STATES DISTRICT JUDGE

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 23   Proceedings recorded by mechanical stenography; transcript
                 produced by computer-aided transcription.
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 25                             (732)895-3403
                         United States District Court
                               Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-24 Filed 08/03/23 Page 3 of 6 PageID: 25372
                                                                              268

  1   (Continuing)

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 25
                         United States District Court
                               Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-24 Filed 08/03/23 Page 4 of 6 PageID: 25373
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  1   (Continuing)

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                         United States District Court
                               Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-24 Filed 08/03/23 Page 5 of 6 PageID: 25374
                           Buch-Direct-Lustberg                               322

  1   Q.    Yes, I do.     So if you look at the top of page 5, it says,

  2   "DLA:    We do want an additional interview with him" --

  3               Actually, let's go back just to put it in context.

  4               If you look at the bottom of 4 -- I'm not going to

  5   read it all; it will take too long -- this talks about how you

  6   spoke to Mr. Schwartz, you asked him about his recollection of

  7   a particular meeting, and he said he had no memory.            And

  8   there's a discussion about how he was out -- how he had had

  9   some surgery and so forth.        And there's a question about who

 10   his lawyers were.      At the time there was a lawyer named Josh

 11   Rievman, but it was transitioning to Reid Weingarten, and the

 12   government asks what's his current status.

 13               And you -- I don't know if it's you or somebody else

 14   from DLA says, "He's on home leave, on paid leave.            His access

 15   to things have been terminated."

 16               Brackett Denniston says, "Our preferred course is for

 17   him to resign or we'll terminate."

 18               Do you see that?

 19   A.    I do.

 20   Q.    And this is on October 6th?

 21               Do you remember this from the interview?

 22   A.    I don't.

 23   Q.    From the meeting?

 24               Okay.    So how about this part?      At the top of the

 25   next page it says, "DLA:       We do want a additional interview
                          United States District Court
                                Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-24 Filed 08/03/23 Page 6 of 6 PageID: 25375
                           Buch-Direct-Lustberg                               323

  1   with him and have asked for medical records for this alibi."

  2               Do you remember discussion of that?

  3   A.    I do.

  4   Q.    And what was that discussion with the government?

  5   A.    I remember telling the government that during the course

  6   of the second interview of Mr. Schwartz, we showed him his

  7   notes, he claimed to have no memory of the entire week.             And I

  8   think it was at that time either we asked Mr. Rievman for the

  9   notes or -- sorry -- for his medical records or Reid Weingarten

 10   volunteered to gather them for us because he wanted to show the

 11   company that there was merit to the claim, and I think he

 12   actually did produce some medical records.

 13               So I remember telling -- yeah, I remember during that

 14   meeting telling the government that, again, the company was

 15   trying to pursue that additional information because, you know,

 16   at the end of it we wanted to keep an open mind as to

 17   Mr. Schwartz's claim of amnesia.

 18   Q.    So you somehow, whether it was from Mr. Weingarten or

 19   otherwise, obtained his medical records, correct?

 20   A.    I think there was a meeting with Mr. Weingarten in late

 21   October at his request where he raised a number of issues about

 22   effective, like, defenses that Mr. Schwartz had -- had raised,

 23   including that issue around the amnesia, and Mr. Weingarten

 24   subsequently gave us medical records.          So correct.

 25   Q.    And did you turn those medical records over to the
                         United States District Court
                               Newark, New Jersey
